Case 4:06-cr-00218-BSM Document 151 Filed 07/24/09 Page 1 of 10
Case 4:06-cr-00218-BSM Document 151 Filed 07/24/09 Page 2 of 10
Case 4:06-cr-00218-BSM Document 151 Filed 07/24/09 Page 3 of 10
Case 4:06-cr-00218-BSM Document 151 Filed 07/24/09 Page 4 of 10
Case 4:06-cr-00218-BSM Document 151 Filed 07/24/09 Page 5 of 10
Case 4:06-cr-00218-BSM Document 151 Filed 07/24/09 Page 6 of 10
Case 4:06-cr-00218-BSM Document 151 Filed 07/24/09 Page 7 of 10
Case 4:06-cr-00218-BSM Document 151 Filed 07/24/09 Page 8 of 10
Case 4:06-cr-00218-BSM Document 151 Filed 07/24/09 Page 9 of 10
Case 4:06-cr-00218-BSM Document 151 Filed 07/24/09 Page 10 of 10
